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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     FACEBOOK, INC., et al.,                         Case No. 19-cv-07071-SVK
                                   8                   Plaintiffs,
                                                                                         ORDER REGARDING PROPOSED
                                   9             v.                                      ORDER APPOINTING SPECIAL
                                                                                         MASTER
                                  10     ONLINENIC INC, et al.,
                                                                                         Re: Dkt. No. 67
                                  11                   Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          On February 19, 2021, the parties submitted a Proposed Order Appointing Special

                                  14   Discovery Master. Dkt. 67-1. The Court has edited the proposed order to reflect its own changes

                                  15   as well as edits received from the Special Master which the Court has approved. The revised order

                                  16   reflecting these changes is attached as Exhibit A. Defense counsel is ORDERED to finalize and

                                  17   re-submit the Proposed Order to the Court for signature by Wednesday, March 3, 2021.

                                  18          SO ORDERED.

                                  19   Dated: March 1, 2021

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                                                                                                 SUSAN VAN KEULEN
                                  22                                                             United States Magistrate Judge
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